Case 1:15-cv-01023-CBK Document 3 Filed 05/22/15 Page 1 of 1 PageID #: 12




                   Court Name: District of South Dakota
                   Division: 4
                   Receipt Number: SDX400036683
                   Cashier IO: d'stevens
                   Transaction ate: 05/22/2015
                   Payer Name: ZIMMER DUNCAN COLE
                   ---------------------------------
                   CIVIL FILING FEE
                    For: ZIMMER DUNCAN COLE
                    Amount:         $400.00
                   ---------------------------------
                   PAPER CHECK CONVERSION
                    Check/Money Order Num: 054949
                    Amt Tendered: $400.00
                    ota 1Due:       1400.00
                   fota! Tendered: 400.00
                   Change Amt:       0.00
                   CIV 15-1023 Sioux Rural Water
                   System, Inc. v. City of Watertown
                   et al
